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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

ELOY SAENZ, AND MIGUEL                          §
DOMINGUEZ AND DEANNA SANCHEZ,                   §
     Plaintiffs,                                §
                                                §      CIVIL ACTION NO. 7:15-cv-00160
v.                                              §
                                                §
ASI LLOYDS,                                     §
      Defendant.


                                   NOTICE OF REMOVAL


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        ASI Lloyds files this Notice of Removal pursuant to 28 U.S.C. §1446(a) and respectfully

shows the Court the following:

                                    Procedural Background

        1.     On or about March 10, 2015, Plaintiffs filed Plaintiffs’ First Amended Petition in

the matter styled Eloy Saenz and Miguel Dominguez and Deanna Sanchez v. ASI Lloyds; Cause

No. C-2888-14-B; In the 93rd Judicial District Court, Hidalgo County, Texas. ASI Lloyds’

registered agent received this citation and petition on March 16, 2015. Defendant ASI Lloyds

files this Notice of Removal within the thirty-day time period required by 28 U. S. C. § 1446(b).

        2.     Attached hereto as Exhibit “A” is the Index of Matters Being Filed. A copy of the

Hidalgo County Clerk’s file for this case is attached as Exhibit “B”, which includes true and

correct copies of all executed process, pleadings and orders, and a copy of Defendant’s First

Amended Answer and Special Exceptions. Attached hereto as Exhibit “C” is the Designation of

Counsel.




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                                                 Basis for Removal

        3.       Removal is proper under 28 U.S.C. §1332(a)(1). There is complete diversity of

citizenship.

        4.       Plaintiffs are, and were at the time the lawsuit was filed, citizens of the State of

Texas. See Plaintiffs’ First Amended Petition, ¶ 3.

        5.       Defendant, ASI Lloyds was, and at the date of this Notice remains, an association

of underwriters. The individual underwriters are as follows: Tanya J. Fjare, Trevor C. Hillier,

Kevin R. Milkey, Gregory E. Stewart, John F. Auer, Jr., Robert K. Munns, Jr., Edwin L. Cortez,

Mary F. Bacon, Antonio Scognamiglio, and Philip L. Brubaker. Each of these underwriters is a

citizen of the State of Florida1 “The United States Supreme Court has consistently held for over

one hundred years that the citizenship of an unincorporated association [such as ASI Lloyds] is

determined . . . solely by the citizenship of its members.” See Massey v. State Farm Lloyds Ins.

Co., 993 F. Supp. 568, 570 (S.D. Tex. 1998); see also Gore v. Stenson, 616 F. Supp. 895, 898-

899 (S.D. Tex. 1984) (recognizing years of Supreme Court precedent reaffirming the treatment

of unincorporated associations for jurisdictional purposes). Accordingly, ASI Lloyds is not a

citizen of the State of Texas.

        6.       In determining the amount in controversy, the court may consider “policy limits...

penalties, statutory damages, and punitive damages.” St. Paul Reinsurance Co., Ltd v.

Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998); see Ray v. State Farm Lloyds, No. CIV.A.3:98-

CV-1288-G, 1999 WL 151667, at * 2-*3 (N.D. Tex. Mar. 10, 1999) (finding a sufficient amount

in controversy in plaintiff’s case against their insurance company for breach of contract, fraud,

negligence, gross negligence, bad faith, violations of the Texas Insurance Code, violations of the


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  See Royal Ins. Co. v. Quinn-L Capital Corp., 3 F.3d 877, 882-884 (5th Cir. 1993), cert. denied, 522 U.S. 815
(1997); see also Bailey, et. al. v. State Farm Lloyds, et. al., Civil Action No. H-00-3638, 2001 U.S. Dist. LEXIS
15236, *9 (S.D. Tex. 2001); Massey, 993 F. Supp. at 570.
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Texas Deceptive Trade Practices Act, and mental anguish); Fairmont Travel, Inc. v. George S.

May Int’l Co., et. al., 75 F.Supp.2d 666, 668 (S.D. Tex. 1999) (considering DTPA claims and the

potential for recovery of punitive damages for the amount in controversy determination); Chittick

v. Farmers Insurance Exchange, 844 F.Supp. 1153, 1155 (S.D. Tex. 1994) (finding a sufficient

amount in controversy after considering the nature of the claims, the types of damages sought

and the presumed net worth of the defendant in a claim brought by the insureds against their

insurance company for actual and punitive damages arising from a claim they made for roof

damages).

        7.      The amount in controversy in this case exceeds the jurisdictional requirements of

this court. In Miguel Dominguez’s and Deanna Sanchez’s letter to ASI, dated April 3, 2014,

Plaintiffs demand $133,079.68. See Exhibit “D.” This evidence clearly demonstrates that the

amount in controversy in this case exceeds the jurisdictional requirements.

                               The Removal is Procedurally Correct

        8.      ASI Lloyds was first served with the amended petition on March 16, 2015. ASI

Lloyds files this Notice of Removal within the 30-day time period required by 28 U.S.C.

§1446(b).

        9.      Venue is proper in this district under 28 U.S.C. §1446(a) because this district and

division embrace the place in which the removed action has been pending and because a

substantial part of the events giving rise to the Plaintiffs’ claims allegedly occurred in this

district.

        10.     Pursuant to 28 U.S.C. §1446(a), all pleadings, process, orders, and all other filings

in the state court action are attached to this Notice.

        11.     Pursuant to 28 U.S.C. §1446(d), promptly after ASI Lloyds files this Notice,

written notice of the filing will be given to Plaintiffs, the adverse parties.

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          12.   Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice of Removal

will be filed with the Clerk of the Hidalgo County Court promptly after ASI Lloyds files this

Notice.

                                             Respectfully submitted,


                                              /s/ Jay Scott Simon
                                             Jay Scott Simon
                                             Attorney-in-Charge
                                             State Bar No. 24008040
                                             Southern District No. 31422
                                             jsimon@thompsoncoe.com
                                             THOMPSON, COE, COUSINS & IRONS, L.L.P.
                                             One Riverway, Suite 1400
                                             Houston, Texas 77056
                                             Telephone: (713) 403-8210
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                                             ATTORNEY FOR DEFENDANT




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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was duly served
pursuant to Federal Rules of Civil Procedure on counsel for Plaintiffs, Eloy Saenz and Miguel
Dominguez and Deanna Sanchez, by and through their attorney of record, Pape Malick Djiba, V.
Gonzalez & Associates, P.C., 121 N. 10th Street, McAllen, Texas 78501, on the 14th day of
April, 2015.



                                            /s/ Jay Scott Simon
                                           Jay Scott Simon




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